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         Case 1:17-cv-00756-LY Document 40 Filed 06/14/18 Page 1 of 1
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                        iN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTiN DIVISION

JUNIOR VOLLEYBALL ASSOCIATION
OF AUSTIN d/b/a AUSTIN SPORTS
CENTER, and AUSTIN SPORTS CENTER,
LLC,

       Plaintiffs,

V.                                                        Cause No.   1: 17-cv-00756-LY


SUMMIT HOSTING LLC, f/k/a
SOFTWARE LINK HOSTING, LLC f/k/a
SOFTWARE LINK, INC.,

       Defendant.

     IPROPOSED] ORDER GRANTING DEFENDANT SUMMIT HOSTING, LLC'S
                 MOTION FOR WITHDRAWAL OF COUNSEL

       THIS CAUSE having come before the Court on the Motion for Withdrawal of Counsel

(the "Motion") filed by Defendant, Summit Hosting, LLC, and after considering the Motion, the

Court finds that the Motion should be granted. Accordingly, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that J. Malcolm Cox is hereby discharged as counsel of record for Summit

Hosting, LLC.

SO ORDERED THIS/               DAY OF                      ,   2018



                                                    Hon able Lee Ye el
                                                    United States District Judge
Submitted by:

Elizabeth C. Brandon
Texas Bar No. 24049580
